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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )   1:10-CR-0416-LJO
                                                 )
12                Plaintiff,                     )   FINAL ORDER OF FORFEITURE
                                                 )
13        v.                                     )
                                                 )
14   DANIEL PINEDA-PARRA,                        )
                                                 )
15                Defendant.                     )
                                                 )
16                                               )
                                                 )
17
18        WHEREAS, on June 5, 2012, this Court entered a Preliminary Order
19   of Forfeiture pursuant to the provisions of 21 U.S.C. § 853, based upon
20   the plea agreement entered into between plaintiff and defendant Daniel
21   Pineda-Parra forfeiting to the United States the following property:
22             a)        Approximately $5,200.00 in U.S. Currency
23        AND WHEREAS, Beginning June 7, 2012, for at least 30 consecutive
24   days, the United States published notice of the Court’s Order of
25   Forfeiture     on    the    official   internet    government     forfeiture        site
26   www.forfeiture.gov. Said published notice advised all third parties of
27   their right to petition the Court within sixty (60) days from the first
28   day of publication of the notice for a hearing to adjudicate the



                                             1                       FINAL ORDER OF FORFEITURE
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 1   validity of their alleged legal interest in the forfeited property;
 2            AND WHEREAS, the Court has been advised that no third party has
 3   filed a claim to the subject property and the time for any person or
 4   entity to file a claim has expired.
 5            Accordingly, it is hereby ORDERED and ADJUDGED:
 6            1.      A Final Order of Forfeiture shall be entered forfeiting to the
 7   United States of America all right, title, and interest in the above-
 8   listed property pursuant to 21 U.S.C. § 853 and Fed. R. Crim. P.
 9   32.2(b)(1), to be disposed of according to law, including all right,
10   title, and interest of Daniel Pineda-Parra.
11            2.      All right, title, and interest in the above-listed property
12   shall vest solely in the name of the United States of America.
13            3.      The United States Marshals Service shall maintain custody of
14   and control over the subject property until it is disposed of according
15   to law.
16
17   IT IS SO ORDERED.
18   Dated:        December 5, 2012           /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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                                             2                      FINAL ORDER OF FORFEITURE
